



                                                                    



IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN



                       




NO. 3-91-404-CR




THE STATE OF TEXAS,


	APPELLANT


vs.




OSCAR FLORES SAUCEDA,



	APPELLEE



                       




FROM THE COUNTY COURT AT LAW NO. 1 OF HAYS COUNTY,



NO. 34,717, HONORABLE LINDA A. RODRIGUEZ, JUDGE



                       




PER CURIAM


	The State appeals an order of the county court at law dismissing this cause.  The
underlying offense is speeding.  

	The State has filed a motion to withdraw the appeal.  No decision of this Court has
been delivered.  The motion is granted and the appeal is dismissed.  See Tex. R. App. P. Ann.
59(b) (Pamph. 1991).




[Before Chief Justice Carroll, Justices Aboussie and Kidd]

Dismissed On State's Motion

Filed:  January 8, 1992

[Do Not Publish]


